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                                       November 15, 2005



Honorable David F. Levi
Honorable William B. Shubb
United States District Court
Robert T. Matsui Federal Building
501 I Street
Sacramento, California 95814


Re:   United States and State of California ex rel. Corapi
      and Zerga v. Tenet Healthcare Corp., et al.,
      CV-S-02-2423 WBS-GGH (E.D. Cal. 2002)

      United States and State of California ex rel. Campbell
      v. Redding Medical Center, et al., CV-S-02-2457 DFL-PAN
      (E.D. Cal. 2002)


Dear Judges Levi and Shubb:

     I write to advise the court of the resolution of two pending
False Claims Act cases, United States and State of California ex
rel. Campbell v. Redding Medical Center, et al., CV-S-02-2457
DFL-PAN (E.D. Cal. 2002)(the “Campbell case”) and United States
and State of California ex rel. Corapi and Zerga v. Tenet
Healthcare Corp., et al., CV-S-02-2423 WBS-GGH (E.D. Cal.
2002)(the “Corapi case”).

     As you are aware, the Ninth Circuit Court of Appeals
reversed and remanded the district court’s dismissal of the
relator in the Campbell case. The court directed the district
court to consider consolidating the Campbell and Corapi cases to
determine whether the first-to-file relators, John Corapi
(“Corapi”) and Joseph Zerga (“Zerga”), qualify as “original
sources” pursuant to 31 U.S.C. § 3730(e)(4). With the settlement
now reached in the cases, that inquiry will not be necessary.
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     The parties have agreed to a global resolution of several
pending matters related to the original allegations. These
matters involve the Campbell and Corapi cases; State of
California, et al v. Tenet Healthcare Corporation, et al.,
SC-RD-CV-02-147261 (Shasta County 2002), a California Insurance
Code qui tam case filed by Corapi and Zerga (“California
Insurance Code case”), and In re Tenet Healthcare Cases III,
Judicial Council Coordinated Proceeding 4301 (Shasta County
2002), a tort action pending on behalf of several hundred
plaintiffs against the cardiac surgeons and group (“State Tort
case”).

    The general terms of the global resolution are as follows:

•     The United States will receive a total payment of $1.4
      million from Fidel Realyvasquez, M.D. (“Dr. Realyvasquez”).
      Payment from Dr. Realyvasquez will be received within 30
      days of the effective date of the settlement agreement.

•     The United States will receive a total payment of $1.4
      million from Chae Moon, M.D. (“Dr. Moon”). Payment from Dr.
      Moon will be received within 30 days of the effective date
      of the settlement agreement.

•     The United States will receive a total payment of $250,000
      from Kent Brusett, M.D. (“Dr. Brusett”). Payment from Dr.
      Brusett will be received in equal yearly installments over
      10 years. The first payment shall be received within 90
      days of the effective date of the settlement agreement.

•     The United States will receive a total payment of $5.5
      million from Tenet Healthcare Corporation, Tenet
      HealthSystems Hospitals, Inc. and Redding Medical Center,
      Inc. (hereafter collectively "Tenet/RMC") to fulfill
      Tenet/RMC’s final accounting and data reconciliation
      obligation from the original settlement with Tenet/RMC in
      August 2003. Payment from Tenet/RMC will be received within
      30 days of the effective date of the settlement agreement.

•     Tenet/RMC will pay $1 million in settlement of the
      California Insurance Code case. Payment will be received by
      the California Department of Insurance within 30 days of the
      effective date of the settlement agreement.
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•     Drs. Realyvasquez, Brusett and Ricardo Javier Moreno-Cabral,
      M.D. (“Dr. Moreno-Cabral”), and the Cardiac, Thoracic &
      Vascular Surgery Medical Group will each provide their
      insurance carrier with a consent to settle under the
      provisions of their insurance policy and for their insurance
      coverage limits, an amount previously determined by the
      superior court to total $24 million, for the purpose of
      attempting to settle the State Tort case.

•     In resolving their respective relator share of the original
      $54 million settlement with Tenet/RMC, in obtaining another
      15% False Claims Act relator share of the additional
      payments to the United States set forth herein, and in
      obtaining a 50% share of the California Insurance Code case
      settlement, Corapi shall receive $2,712,281 and Zerga shall
      receive $2,712,281, for a total recovery of $5,424,562.

•     In resolving his respective relator share of the original
      $54 million settlement with Tenet and in obtaining another
      15% False Claims Act relator share of the additional
      payments to the United States, Patrick Campbell (Campbell)
      shall receive $4,457,938.

•     Each of the relators agrees that the share set forth herein
      is reasonable, fair and adequate. Upon receipt of such
      payments, Campbell, Corapi and Zerga shall dismiss with
      prejudice as to each of them the Campbell and Corapi cases
      and the California Insurance Code case. Corapi, Zerga and
      Campbell, and their respective counsel, shall not file or
      pursue any other federal or state False Claims Act cases or
      claims against the parties to this settlement and shall
      provide full and final releases for attorneys fees, costs,
      expenses and any other claims, known or unknown, as to each
      other, Tenet/RMC, Drs. Realyvasquez, Moon, Brusett and
      Moreno-Cabral, and each and all of their medical
      corporations. The release language will incorporate the
      scope of the release in this paragraph and conform with
      California law.

•     From the payments received by the United States, California
      shall receive the amount of $419,933. The amount set forth
      herein shall represent full and complete payment to
      California of its respective share of the settlement.
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•     Upon the effective date of the settlement agreement, Drs.
      Moon and Realyvasquez agree not to perform any further
      cardiac procedures or surgeries on any Medicare, Medi-Cal or
      TRICARE patients.

•     The United States reserves all rights to pursue all non-
      monetary administrative remedies against Drs. Realyvasquez,
      Moon, Brusett and Moreno-Cabral and all entities, including
      exclusion from participation in federal or state health care
      programs. Drs. Realyvasquez, Moon, Brusett and Moreno-
      Cabral reserve the right to contest any such action.

•     The United States’ settlement agreements with Drs.
      Realyvasquez, Moon, and Brusett shall contain the same
      reservations, releases and other applicable provisions as
      the United States’ $54 million settlement agreement with
      Tenet/RMC, signed by the undersigned on August 4, 2003, to
      the extent those terms are not inconsistent with this
      letter.

•     The United States shall provide to counsel for Drs. Moon,
      Realyvasquez, Brusett and Moreno-Cabral letters advising
      that the United States Attorney for the Eastern District of
      California does not intend to initiate or prosecute criminal
      charges against those physicians and their professional
      corporations for any allegedly unnecessary cardiac
      procedures or surgeries, outlier payments, kickbacks, or
      relocation agreements.

•     Upon receiving the payments set forth herein, the United
      States and the State of California shall dismiss with
      prejudice the Campbell and Corapi cases as to the settling
      defendants, and the State of California shall dismiss with
      prejudice in its entirety the California Insurance Code
      case.

•     The settlement agreement shall provide that Drs. Moon,
      Realyvasquez, Brusett and Moreno-Cabral, and each and all of
      their medical corporations, deny liability and that
      settlement is not an admission of liability, nor an
      admission of law or facts by the settling parties.
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     In light of the settlement agreements, dismissals and
releases required to effectuate the global settlement described
herein, the parties request that the Court allow 60 days for
filing of the dispositive settlement documents.

      Thank you for your assistance in these cases.

                                     Very truly yours,

                                     McGREGOR W. SCOTT
                                     United States Attorney

                                  By: /s/ Michael A. Hirst
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                                     Assistant U.S. Attorney
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